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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
IN RE: KATRINA CANAL BREACHES * CIVIL ACTION
LITIGATION * 05-4182
* MAGISTRATE 2
* SECTION “K”

PERTAINS TO: 07-4774
MURPHY OIL

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MOTION TO DISMISS
NOW INTO COURT, through undersigned counsel, comes The Southeast
Louisiana Flood Protection Authority East (“SLFPA”), who respectfully moves this
Honorable Court to dismiss with prejudice plaintiffs’ claims against it pursuant to Rule
12(B)(6) of the Federal Rules of Civil Procedure.
WHEREFORE, after due consideration is had, and for the reasons set forth in
the attached Memorandum in Support hereof, defendant respectfully requests that

plaintiffs’ claims against SLFPA should be dismissed with prejudice.
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Respectfully submitted

DUPLASS, ZWAIN, BOURGEOIS, MORTON,
PFISTER & WEINSTOCK

S/Jennifer M/ Morris

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Borgne Basin Levee District

CERTIFICATE OF SERVICE

I hereby certify that on the 4th day of December, 2007, a copy of the foregoing
Board of Commissioners for the Lake Borgne Levee District was filed electronically with
the Clerk of Court using the CM/ECF system. Notice of this filing has been forwarded to
all known counsel of record by operation of the court’s electronic filing system or by
depositing a copy in the United States mail, properly addressed and postage prepaid.

S/Jennifer M. Morris

JENNIFER M. MORRIS (#29936)
